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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

LORRAINE S. HOFFMAN,

        Plaintiff,

v.                                               Case No: 8:22-CV-02004

HEALTHCARE REVENUE
RECOVERY GROUP, LLC,

      Defendant.
___________________________

                          Uniform Case Management Report

       The goal of this case management report is to “secure the just, speedy, and
inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
3.02(a)(2), this case management report should be used in all civil cases except those
described in Local Rule 3.02(d). Individual judges may have additional case
management preferences that can be found under each judge’s name on the Court’s
website, flmd.uscourts.gov/judges/all.

1. Date and Attendees

     The parties may conduct the planning conference “in person, by telephone, or by
     comparable means[.]” See Local Rule 3.02(a)(1).

     The parties conducted the planning conference on 11/11/2022. Alexander Taylor,
     attorney for Plaintiff, and Ernest H. Kohlmyer, III, attorney for Defendant,
     attended the conference.

2. Deadlines and Dates

     The parties request these deadlines and dates:

     Action or Event                                                          Date

     Deadline for providing mandatory initial disclosures. See Fed. R. Civ.
                                                                              12/2/2022
     P. 26(a)(1).
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   Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                  12/12/2022
   or amend the pleadings, see Fed. R. Civ. P. 15(a).

   Plaintiff’s deadline for disclosing any expert report. See Fed. R. Civ. P.     3/10/2023
   26(a)(2).

   Defendant’s deadline for disclosing any expert report.                         3/31/2023

   Deadline for disclosing any rebuttal expert report.                            4/21/2023

   Deadline for completing discovery and filing any motion to compel
                                                                                  5/11/2023
   discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

   Deadline for moving for class certification, if applicable. See Fed. R.           NA
   Civ. P. 23(c).

   Deadline for filing any dispositive and Daubert motion. See Fed. R. Civ.
                                                                                  6/8/2023
   P. 56. (Must be at least five months before requested trial date.)

   Deadline for participating in mediation. See Local Rules, ch. 4.
   Mediator:                                                                      6/30/2023



   Date of the final pretrial meeting. See Local Rule 3.06(a).                    10/10/2023

   Deadline for filing the joint final pretrial statement, any motion in
   limine, proposed jury instructions, and verdict form. See Local Rule           10/24/2023
   3.06(b). (Must be at least seven days before the final pretrial conference.)

   Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
   Rule 3.06(b).

                                                                                  November
   Month and year of the trial term.
                                                                                    2023


  The trial will last approximately 2 days and be

  ☒ jury.
  ☐ non-jury.




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3. Description of the Action

Plaintiff alleges that Defendant violated the air Debt Collection Practices Act
(“FDCPA”) pursuant to 15 U.S.C. §1692 and the Florida Consumer Collection
Practices Act (“FCCPA”), Fla. Stat. §559.55, et seq., by engaging in unfair and
harassing conduct in its attempts to collect a debt allegedly owed by Plaintiff.
Defendant denies Plaintiff’s allegations and asserts affirmative defenses, including
the bona fide error defenses of the FDCPA and FCCPA.

4. Disclosure Statement

   ☒ The parties have filed their disclosure statement as required by Federal Rule of
   Civil Procedure 7.1 and Local Rule 3.03.

5. Related Action

   ☒ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
   notify the judge of a related action pending in the Middle District or elsewhere by
   filing a “Notice of a Related Action.” No notice need be filed if there are no related
   actions as defined by the rule.

6. Consent to a Magistrate Judge

   “A United States magistrate judge in the Middle District can exercise the maximum
   authority and perform any duty permitted by the Constitution and other laws of the United
   States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer any civil
   matter to a magistrate judge for any or all proceedings, including a non-jury or jury trial.
   28 U.S.C. § 636(c).

   The Court asks the parties and counsel to consider the benefits to the parties and the Court
   of consenting to proceed before a magistrate judge. Consent can provide the parties
   certainty and flexibility in scheduling. Consent is voluntary, and a party for any reason
   can decide not to consent and continue before the district judge without adverse
   consequences. See Fed. R. Civ. P. 73(b)(2).

   ☐ The parties do consent and file with this case management report a completed
   Form AO 85 “Notice, Consent, and Reference of a Civil Action to a Magistrate
   Judge,” which is available on the Court’s website under “Forms.”
   ☒ The parties do not consent.




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7. Preliminary Pretrial Conference

     ☒ The parties do not request a preliminary pretrial conference before the Court
     enters a scheduling order.
     ☐ The parties do request a preliminary pretrial conference, and the parties want to
     discuss enter discussion points.


8. Discovery Practice

     The parties should read the Middle District Discovery Handbook, available on the Court’s
     website at flmd.uscourts.gov/civil-discovery-handbook, to understand discovery practice
     in this District.

     ☒ The parties confirm they will comply with their duty to confer with the opposing
     party in a good faith effort to resolve any discovery dispute before filing a motion.
     See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

9. Discovery Plan

     The parties submit the following discovery plan under Rule 26(f)(2):

     A.   The parties agree to the timing, form, or requirement for disclosures under
          Rule 26(a):

           ☒ Yes.
           ☐ No; instead, the parties agree to these changes: enter changes.

B.    Discovery may be needed on these subjects: The parties anticipate written and
      oral discovery on (1) communications between Defendant and Plaintiff; and
      (2) the debt owed by a third party that Defendant attempted to erroneously
      collect from Plaintiff.

     C.   Discovery should be conducted in phases:

           ☒ No.
           ☐ Yes; describe the suggested phases.

     D. Are there issues about disclosure, discovery, or preservation of
        electronically stored information?




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         ☒ No.
         ☐ Yes; describe the issue(s).

    E.   ☒ The parties have considered privilege and work-product issues,
         including whether to ask the Court to include any agreement in an order
         under Federal Rule of Evidence 502(d).


    F.   The parties stipulate to changes to the limitations on discovery imposed
         under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
         limitations:

         ☒ No.
         ☐ Yes; describe the stipulation.

10. Request for Special Handling

    ☒ The parties do not request special handling.
    ☐ The parties request special handling. Specifically, describe requested special
    handling.
    ☐ Enter party’s name unilaterally requests special handling. Specifically, describe
    requested special handling.

11. Certification of familiarity with the Local Rules

    ☒ The parties certify that they have read and are familiar with the Court’s Local
    Rules.

12. Signatures

Dated: September 8, 2022
 /s/ Alexander J. Taylor                 /s/ Ernest H. Kohlmyer, III
 Alexander J. Taylor, Esq.               Ernest H. Kohlmyer, III, LL.M.
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                           CERTIFICATE OF SERVICE

       I hereby certify that on November 11, 2022, I electronically filed the foregoing
with the Clerk of the Court for the Middle District of Florida by using the CM/ECF
system.

    Participants in the case who are registered CM/ECF users will be served by the
CM/ECF system.

                                              /s/ Alexander J. Taylor




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